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                                                     Wednesday, July 15, 2015

           Via ECF
           The Honorable Freda L. Wolfson

                     RE:        Erin & Fred Montgomery v. Rider University, et al.
                                No.: 15-1840

           Your Honor:

                  Pending before this Honorable Court is Defendants’ Motion to Dismiss (Docket No. 55).
           Pursuant to Local Rule, Plaintiffs respectfully request this Honorable Court “roll over” Plaintiffs’
           response deadline to this motion to: August 3, 2015. LR 7.1.

                     This is Plaintiffs’ first request for automatic extension. This request is timely.

                   Plaintiffs thank this Honorable Court for its consideration of this request for automatic
           response deadline enlargement. If Your Honor requires anything further, Plaintiffs will, of
           course, abide this Court’s directive.


                                                             Sincerely,

                                                             /s/ Matthew B. Weisberg
                                                             MATTHEW B. WEISBERG

           MBW/hcm
           Cc: Kelly Ann Bird, Esq.
               Lindsay J. Jarusiewicz, Esq.
               Justin Schwam, Esq.
               (Via ECF)
